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15   PURETHINK LLC, IGOV INC., and JOHN
     MARK SUHY
16
                                      UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
     NEO4J, INC., a Delaware corporation,              CASE NO. 5:18-cv-07182-EJD
19   NEO4J SWEDEN, AB, a Swedish
     corporation,                                      STIPULATION AND [PROPOSED]
20                                                     ORDER TO ADMIT DEPOSITION
                        Plaintiffs,                    TESTIMONY AND CORRESPONDING
21                                                     TRIAL EXHIBITS
            v.
22
     PURETHINK LLC, a Delaware limited
23   liability company, IGOV INC., a Virginia
     corporation, and JOHN MARK SUHY, an
24   individual,
25                      Defendants.                    Trial Date: November 14, 2023
26

27   AND RELATED COUNTERCLAIMS.
28
     4888-0598-0305.1
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 230 Filed 11/28/23 Page 2 of 11



 1                                            STIPULATION
 2          This Stipulation is made between Plaintiffs and Counter-Defendants Neo4j, Inc. and Neo4j
 3   Sweden AB (collectively “Plaintiffs”) and Defendants and Counterclaimants PureThink LLC, iGov
 4   Inc. and John Mark Suhy (collectively, “Defendants”). Plaintiffs and Defendants (collectively, the
 5   “Parties”) through their respective counsel HEREBY STIPULATE as follows:
 6          WHEREAS, the Parties agreed in their Amended Joint Final Pretrial Statement that they
 7   would not contest the authenticity of any documents that were marked as exhibits during the party
 8   and non-party depositions taken in the case unless the party contesting the authenticity made such
 9   an objection during that deposition. Dkt. No. 220 at 40:4-6.
10          WHEREAS, the Parties agreed in their Amended Joint Final Pretrial Statement that
11   deposition designations may be submitted for the Court’s consideration without having them read
12   in open court where in the interest of judicial economy. Dkt. No. 220 at 40:7-8.
13          WHEREAS, Plaintiffs filed their Deposition Designations on September 28, 2023 (Dkt.
14   No. 210), and Exhibit 2 thereto as amended on November 16, 2023 (Dkt. No. 226).
15          WHEREAS, Defendants filed their Counter-Deposition Designations without any
16   objections to Plaintiffs’ Designations on November 7, 2023. Dkt. No. 222.
17          WHEREAS, on November 14, 2023, the Parties stipulated on the record that Plaintiffs’
18   Deposition Designations and Defendants’ Counter-Designations would be admitted into evidence
19   without the need to read or play the live testimony during trial.
20          WHEREAS, on November 14, 2023, the Parties stipulated on the record that Plaintiffs’
21   Trial Exhibits would be admitted into evidence without the need to read or play the corresponding
22   designated deposition testimony during trial.
23          ACCORDINGLY, the Parties HEREBY STIPULATE that Plaintiffs’ Deposition
24   Designations and Defendants’ Counter-Designations be admitted into evidence without the need
25   to read or play the live testimony during trial. The Parties FURTHER STIPULATE that the
26   following Trial Exhibits and corresponding designated deposition testimony SHALL BE
27   ADMITTED into evidence at trial:
28   ///
     4888-0598-0305.1
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
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 1
      Ex. No.    Date                    Description                   Authenticating/Related Testimony
 2
                         IRS Order for Supplies or Services, Order
                                                                       Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
 3      34      09/23/16
                         No. TIRNO-16-P-00202, to PureThink for
                                                                       74:12-75:18; Dkt. No. 210, Ex. 5
                         implementation of Neo4j Government
                                                                       (Dunn) at 40:5-43:1
 4                       Edition for $229,000 (Depo Ex. 159)

 5                       Email exchange between John Mark Suhy
                         and Michael Dunn of the IRS regarding         Dkt. No. 210, Ex. 5 (Dunn) at 65:2-
        51      07/12/17
 6                       PureThink continuing to fulfill its           66:2. 69:8-19
                         contractual obligations (Depo Ex. 162)
 7                         Email from Daniels Vivan to John Mark
                           Suhy enclosing RFQ and SOW to John          Dkt. No. 210, Ex. 5 (Dunn) at 69:20-
 8      52      07/27/17
                           Mark Suhy for CKGE support contract         71:23
 9                         (Depo Ex. 163)
                           Email exchange between John Mark Suhy
10                         and Donald Robertson of FSF regarding the   Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
        61      05/22/18   removal of the Commons Clause from the      169:3-170:3, 182:11-184:10, 187:12-
11                         Neo4j Sweden Software License (Depo Ex.     188:15
                           22)
12                         Email exchange between John Mark Suhy
13                         and Donald Robertson FSF regarding the
                                                                       Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
        62      06/20/18   removal of the Commons Clause from the
                                                                       189:1-191:3
14                         Neo4j Sweden Software License (Depo Ex.
                           23)
15                         Continued email exchange between John
                           Mark Suhy and Donald Robertson of FSF       Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
16      65      08/21/18   regarding the removal of the Commons        192:18-193:24, 195:17-196:1,
                           Clause from the Neo4j Sweden Software       196:22-201:16.
17                         License (Depo Ex. 24)
18                         Email from John Mark Suhy to Lee Smales
                           at the Department of the Air Force where
                                                                       Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
19      69      08/22/18   Suhy points him to ONgDB via the GFI
                                                                       142:13-145:12.
                           website and confirms IRS is using ONgDB
20                         (Depo Ex. 19)
                         Letter from John Mark Suhy to Traci
21                       Brinkley enclosing Agency-Level Delivery      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        83      07/10/20
                         Order Protest Objection Solicitation          147:3-149:17
22
                         2032H5-20-F-00394 (Depo Ex. 210)
23                       Email from Dian Griffith to Seth Cooper
                         and Shahak Nagiel of Next Century,            Dkt. No. 210, Ex. 4 (Weyant) at
24      104     10/01/18 referencing links to iGov's website           35:7-37:13, 38:25-39:18, 39:24-42:3,
                         regarding its packages for Neo4j and          42:16-44:23
25                       pricing (Depo Ex. 43)
26

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28
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     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 230 Filed 11/28/23 Page 4 of 11



 1
      Ex. No.    Date                    Description                  Authenticating/Related Testimony
 2
                         Email from Diane Griffith to Shahak
 3                       Nagiel discussing iGov's representations
                                                                      Dkt. No. 210, Ex. 4 (Weyant) at
                         regarding the iGov/Graphstack free version
        105     10/17/18                                              44:24-48:10, 48:19-49:1, 49:18-
 4                       of Neo4j Enterprise having the same
                                                                      51:14
                         enterprise-only features as commercially
 5                       licensed Neo4j EE (Depo Ex. 44)

 6                       Email exchange between John Mark Suhy
                         and Shahak Nagiel of Next Century Corp
                                                                      Dkt. No. 210, Ex. 4 (Weyant) at
 7      106     10/22/18 where Suhy points him to ONgDB 3.4 via
                                                                      51:23-56:21, 57:6-59:17
                         the GFI github repository and confirms IRS
 8                       is using ONgDB (Depo Ex. 45)
                         Email from John Mark Suhy to Shahak
 9                       Nagiel confirming that iGov-packaged
                                                                      Dkt. No. 210, Ex. 4 (Weyant) at
        107     10/26/18 Neo4j enterprise distributions and ONgDB
10                                                                    59:18-60:15, 60:19-20, 60:25-62:12
                         include the enterprise-only multi-data
11                       centers feature (Depo Ex. 46)
                         Email from John Mark Suhy to Shahak
12                       Nagiel regarding working on and              Dkt. No. 210, Ex. 4 (Weyant) at
        108     01/04/19
                         anticipated release of ONgDB 3.5.1 (Depo     62:13-65:17
13                       Ex. 47)
                         Email from Shahak Nagiel to Jim Weyant
14                                                                    Dkt. No. 210, Ex. 4 (Weyant) at
                         re Neo4j PoC Status re going with open
        109     02/01/19                                              65:18-67:21, 68:1-4, 68:11-70:19,
15                       source alternative (ONgDB) to Neo4j EE
                                                                      73:21-74:3
                         (Depo Ex. 48)
16                       Email from Ben Nussbaum to John Mark
                                                                      Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
        111     02/19/19 Suhy re NextCentury questions re licensing
17                                                                    218:8-221:5
                         of ONgDB (Depo Ex. 30)
18                       Email from Ben Nussbaum to Shahak
                                                                      Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
        112     02/19/19 Nagel after intro from John Mark Suhy
                                                                      221:24-224:23
19                       discussing ONgDB v.3.5 (Depo Ex. 31)
                         Email from Shahak Nagiel to Brad
20                       Nussbaum regarding Suhy's comments
                                                                      Dkt. No. 210, Ex. 4 (Weyant) at
        113     02/19/19 about Neo4j Sweden adding the Commons
21                                                                    83:21-84:11, 86:4-87:15, 87:21-88:3
                         Clause in the referenced GitHub thread
                         (Depo Ex. 50)
22
                         Email from Shahak Nagiel to multiple
23                       recipients at Next Century instructing to    Dkt. No. 210, Ex. 4 (Weyant) at
        114     02/21/19
                         only use ONgDB and delete all Neo4j EE       89:24-90:19, 91:1-17
24                       binaries/containers (Depo Ex. 52)

25                       Email from Shahak Nagiel to Marco de
                         Palma, Todd Hughes and Jim Weyant            Dkt. No. 210, Ex. 4 (Weyant) at
26      115     03/05/19 regarding how to address use of ONgDB        91:24-92:25, 93:7-95:11, 95:19-
                         over Neo4j EE in public forums (Depo Ex.     97:17
27                       53)

28
     4888-0598-0305.1                                  -4-
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
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 1
      Ex. No.    Date                     Description                   Authenticating/Related Testimony
 2
                         Email from Shahak Nagiel to Jason
 3                       Zagalsky (copying Jim Weyant) confirming
                                                                        Dkt. No. 210, Ex. 4 (Weyant) at
        120     07/21/19 that the MPO was not interested in paying
                                                                        110:4-111:24
 4                       for a commercial license for Neo4j EE
                         (Depo Ex. 57)
 5                       Email exchange between Brad Nussbaum
                                                                        Dkt. No. 210, Ex. 4 (Weyant) at
                         and Michael Smolyak confirming that
 6      121     01/23/20                                                111:25-112:11, 114:11-118:1, 118:7-
                         MPO still using ONgDB and interested in
                                                                        10
                         version 4.0 (Depo Ex. 58)
 7
                         Email from Michael Smolyak to Tammy
                                                                        Dkt. No. 210, Ex. 4 (Weyant) at
 8      122     10/27/20 Turpin regarding moving ONgDB into
                                                                        125:14-127:23
                         production at MPO (Depo Ex. 60)
 9                       Email from Michael Dunn to John Mark
                         Suhy regarding meeting with Jason
10                                                                      Dkt. No. 210, Ex. 5 (Dunn) at 47:4-
        123     03/29/17 Zagalsky and John Broad of Neo4j USA
                                                                        23, 48:16-49:14, 49:19-50:25
11                       and need for 12-core enterprise license in
                         production (Depo Ex. 160)
12                       Email exchange between Michael Dunn
                         and John Mark Suhy regarding iGov and          Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
13      124     10/04/17
                         eGovernment Solutions supporting the           188:10-193:25
                         CKGE platform (Depo Ex. 214)
14
                         Email from John Mark Suhy to Michael
15                       Dunn regarding Neo4j Sweden adding             Dkt. No. 210, Ex. 5 (Dunn) at 96:6-
        127     05/22/18
                         Commons Clause to AGPL in Neo4j EE             98:21
16                       3.4 (Depo Ex. 165)
                         Email exchange between Michael Dunn
17                       and John Mark Suhy regarding the IRS
                                                                        Dkt. No. 210, Ex. 5 (Dunn) at 101:9-
        129     06/15/18 switching from Neo4j EE 3.2 to Neo4j CE
18                                                                      104:12
                         3.4 in light of change to licensing in Neo4j
19                       EE 3.4 (Depo Ex. 166)
                         Email exchange between John Mark Suhy
20                       and Michael Dunn recommending that the
                                                                        Dkt. No. 210, Ex. 5 (Dunn) at 126:5-
        132     08/13/18 IRS move from Neo4j EE 3.3.2 to ONgDB
21                                                                      138:2, 138:22-141:24
                         3.4.x in the CKGE framework (Depo Ex.
                         169)
22
                         Email from Michael Dunn to John Mark
                                                                        Dkt. No. 210, Ex. 5 (Dunn) at
23      133     08/14/18 Suhy instructing him to integrate ONgDB
                                                                        142:15-143:20
                         into the CKGE framework (Depo Ex. 170)
24                       Email from Michael C. Dunn to John Mark
                         Suhy confirming he will proceed with
25                                                                      Dkt. No. 210, Ex. 5 (Dunn) at 145:2-
        134     08/14/18 ONgDB and also inviting Raul Tikekar to
                                                                        146:21
                         discuss using ONgDB in YK1 platform
26                       (Depo Ex. 171)
27

28
     4888-0598-0305.1                                  -5-
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
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 1
      Ex. No.    Date                    Description                   Authenticating/Related Testimony
 2
                         Email exchange between John Mark Suhy
 3                       and Patrick Martin discussing hardware        Dkt. No. 210, Ex. 5 (Dunn) at
        137     12/11/18
                         requirements for CKGE and YK1 (Depo           152:19-161:22
 4                       Ex. 173)
                         Email exchange between Martin Patrick
 5                                                                     Dkt. No. 210, Ex. 5 (Dunn) at
        138     03/11/19 and John Mark Suhy regarding ONgDB
                                                                       161:23-165:13
                         sever instances in CKGE (Depo Ex. 174)
 6
                         Cancellation of Meeting from Michael
 7                       Dunn to Patrick Martin, Michael Young,
                         John Mark Suhy, Joshua Porter, Jonathan       Dkt. No. 210, Ex. 5 (Dunn) at
        141     09/10/19
 8                       Edelson and Joseph Ansaldi re disc of         181:11-184:18
                         BETA, STAGE, PROD domains (Depo Ex.
 9                       175)

10                       Email exchange between Joshua Porter at
                         the IRS and John Mark Suhy regarding          Dkt. No. 210, Ex. 5 (Dunn) at 193:2-
        143     09/17/19
11                       updating ONgDB at the IRS from version        198:15
                         3.5.3 to version 3.5.9 (Depo Ex. 178)
12                       Email from Michael Dunn to a number of
                         individuals with the IRS, including John
13                       Mark Suhy, Michael Stavrianos and Brian       Dkt. No. 210, Ex. 5 (Dunn) at 207:7-
        144     09/20/19
                         Bird regarding new ONgDB libraries            210:4
14
                         available on internal IRS repository (Depo
15                       Ex. 149)
                         Email exchange between Hai Huynh and
16                       John Mark Suhy regarding downloading
                                                                       Dkt. No. 210, Ex. 5 (Dunn) at
        145     11/12/19 ONgDB 3.5.11 from internal IRS
17                                                                     210:13-211:20, 213:1-216:8
                         repository and running on IRS laptop
                         (Depo Ex. 181)
18
                         Order for Supplies or Services Contract No.
                                                                       Dkt. No. 210, Ex. 5 (Dunn) at
19      146     09/28/20 2032H5-19-A-00011 to ASR Analytics for
                                                                       238:19-240:4, 241:10-242:14
                         Corporate Graph Database (Depo Ex. 185)
20                       Subcontract Agreement between ASR
                         Analytics, LLC and iGov, Inc. for prime
21                       contract #2032H8-18-C-00037 to Tylor          Dkt No. 210, Ex. 6 (Stavrianos) at
        154     10/01/18 Data Services, LLC for consulting services    102:8-103:24, 105:1-17, 105:23-
22                       including technical guidance and              106:7
                         deployment support related to the CKGE
23                       (Depo Ex. 134)
24                       Master Subcontract Agreement between
                         ASR Analytics and iGov, Inc. for Contract     Dkt No. 210, Ex. 6 (Stavrianos) at
25      155     11/07/18 No. GS10F0062R / 2032-H5-19-A-00011           108:10-111:1, 111:24-114:8, 115:4-
                         for RAAS Data Analytics and Innovation        116:16
26                       Support (DAIS) (Depo Ex. 135)
27

28
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     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 230 Filed 11/28/23 Page 7 of 11



 1
      Ex. No.    Date                    Description                   Authenticating/Related Testimony
 2
                           Email from John mark Suhy to Michael
 3                         Stavrianos enclosing resume for Cyber       Dkt No. 210, Ex. 6 (Stavrianos) at
        158     03/29/19
                           RFQ (KG-API engagement) (Depo Ex.           91:7-92:6, 93:23-96:19, 97:23-99:20
 4                         133)
                           Invoice #212 sent by iGov to ASR for work
 5                         on Tylor Data Services, LLC:IRS RAAS        Dkt No. 210, Ex. 6 (Stavrianos) at
        160     6/6/2019
                           Graph Analytics in the amount of $1,750     166:2-167:15
 6                         (Depo Ex. 142)
 7                         Email from Deborah Tylor to John Mark
                           Suhy, Alexander Seo Sook, Michael           Dkt No. 210, Ex. 6 (Stavrianos) at
        161     12/06/19
 8                         Stavrianos and Lauren Szczerbisnski re      189:6-190:3, 190:10-20
                           KGAPI milestones (Depo Ex. 150)
 9                         Volume 1 - Technical Proposal (RFQ-20-
                                                                       Dkt No. 210, Ex. 6 (Stavrianos) at
                           U0016) - ASR Analytics for RAAS Data
10                                                                     124:3-126:13, 127:5-128:5, 128:12-
        162     07/27/20   Analytics and Innovation Support (DAIS)
                                                                       16, 129:8-130:18, 138:1-25, 139:13-
                           made under Blanket Purchase Agreement
11                         for KG-API (Depo Ex. 137)
                                                                       25

12                         Modification 001 to Master Subcontract
                           Agreement for iGov's work at IRS on         Dkt No. 210, Ex. 6 (Stavrianos) at
        163     06/04/20
13                         RAAS Data Analytics and Innovation          119:1-121:14, 121:19-123:24
                           Support (DAIS) (Depo Ex. 136)
14                         Subcontractor Task Order Number 0001
                                                                       Dkt No. 210, Ex. 6 (Stavrianos) at
                           under ASR-RAAS_DAIS-iGov-0001 for
15      164     10/05/20                                               140:14-143:9, 143:15-143:20, 144:1-
                           Emerging Compliance Issues totaling
                                                                       14
                           $29,538.00 (Depo Ex. 138)
16
                           Subcontractor Task Order Number 0002
17                         under ASR-RAAS_DAIS-iGov-0001 for
                                                                       Dkt No. 210, Ex. 6 (Stavrianos) at
        165     10/07/20   Support for Support for Corporate Graph
                                                                       144:15-146:14, 147:13-149:23
18                         Database totaling $25,993.44 (Depo Ex.
                           139)
19
                         Subcontractor Task Order Number 0001 -
20                       Modification 01 under ASR-RAAS_DAIS-          Dkt No. 210, Ex. 6 (Stavrianos) at
        166     11/09/21
                         iGov-0001 for Emerging Compliance             151:8-155:17
21                       Issues totaling $35,470.90 (Depo Ex. 140)
                         Subcontractor Task Order Number 0002 -
22                       Modification 01 under ASR-RAAS_DAIS-          Dkt No. 210, Ex. 6 (Stavrianos) at
        167     11/09/21 iGov-0001 for Support for Support for         157:2-159:4, 159:14-160:8. 160:24-
23                       Corporate Graph Database totaling             162:11, 162:15-163:23
                         $21,131.60 (Depo Ex. 141)
24
                         Invoice #267 sent by iGov to ASR for work
25                       on TIRS:DAIS BPA (lOT Innovation,
                                                                       Dkt No. 210, Ex. 6 (Stavrianos) at
        168     3/5/2021 Knowledge Graph, Corporate Graph,
                                                                       167:16-169:17
26                       Emerging Compliance Issues) in the
                         amount of $14,474.12 (Depo Ex. 143)
27

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     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
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 1
      Ex. No.    Date                    Description                  Authenticating/Related Testimony
 2
                         Invoice #303 sent by iGov to ASR for work
                                                                      Dkt. No. 210, Ex. 6 (Stavrianos) at
 3      169     7/7/2022 on IRS:DAIS BPA (IDT, KG, CG, ECI) in
                                                                      172:11-173:17, 173:24-174:2
                         the amount of $6,490.42 (Depo Ex. 144)
 4                       Master Subcontract Agreement between
                         ASR Analytics and Greystones Consulting
 5                       Group, LLC for Contract No. GS10F0062R       Dkt. No. 210, Ex. 7 (Pollard) at
        170     07/07/22
                         / 2032-H5-19-A-00011 for RAAS Data           163:23-166:10, 167:1-168:21
 6
                         Analytics and Innovation Support (DAIS)
 7                       (Depo Ex. 249)
                         Subcontractor Task Order Number
 8                       0001_MOD 01 under ASR-RAAS_DAIS-             Dkt. No. 210, Ex. 7 (Pollard) at
        171     10/04/22 Greystones-0001 for Emerging Compliance      180:16-183:5, 183:13-184:11, 185:2-
 9                       Issues, replacing Subcontract Agreement      20, 186:5-7
                         with iGov Inc. (Depo Ex. 250)
10
                         Subcontractor Task Order Number
11                       0002_MOD 01 under ASR_RAAS_DAIS-
                                                                      Dkt. No. 210, Ex. 7 (Pollard) at
        172     11/01/22 Greystones-0001 for Support for Corporate
                                                                      186:13-188:23, 189:13-19
12                       Graph Database, replacing Subcontract
                         Agreement with iGov Inc. (Depo Ex. 251)
13
                         ASR Analytics LLC Transaction List by
14                       Vendor 1/1/2015 - 07/27/2022 for
                                                                      Dkt. No. 210, Ex. 6 (Stavrianos) at
                         payments made to iGov totaling
        173     11/02/22                                              173:24-177:2; Dkt. No. 226, Ex. 2
15                       246,082.55, which the parties stipulated
                                                                      (Suhy Vol 2) at 296:6-298:3.
                         accurately reflected amounts ASR paid
16                       iGov through 07/27/2022 (Depo Ex. 145)
                         Stock Purchase Agreement between John
17                       Mark Suhy and Ashwani Mayur and Nikhil
                         Budhiraja where Suhy sells his shares in     Dkt. No. 210, Ex. 3 (Mayur) at 24:9-
18      180     12/31/18
                         eGov Sol to other shareholders for $20,000   11, 30:8-34:15, 34:21-37:14
                         and the proceeds from the CKGE Contract
19                       with the IRS (Depo Ex. 100)
20                       eGovernment Solutions Inc.'s quote for
                                                                      Dkt. No. 210, Ex. 3 (Mayur) at
        181     04/06/18 CKGE Contract prepared by John Mark
                                                                      47:14-50:13.
21                       Suhy (Depo Ex. 102)

22                       Order for Supplies or Services Order No.
                                                                      Dkt. No. 210, Ex. 3 (Mayur) at
        182     05/24/18 2032H8-18-P-00151, 1st year of CKGE
                                                                      50:14-54:3.
23                       Contract for $300,000 (Depo Ex. 103)
                         Amendment of Solicitation/Modification of
24                       Contract to correct Order No. 2032H8-18-     Dkt. No. 210, Ex. 3 (Mayur) at
        183     05/31/18
                         P-00151 to 2032H8-18-P-00168 for CKGE        54:10-56:15
25                       Contract (Depo Ex. 104)
26

27

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     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
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 1
      Ex. No.    Date                     Description                   Authenticating/Related Testimony
 2
                         Amendment of Solicitation/Modification of
 3                       Contract to exercise option year 1 in the
                                                                        Dkt. No. 210, Ex. 3 (Mayur) at
        184     05/24/19 amount of $200,000.00 with a period of
 4                                                                      56:15-58:12, 58:18-59:5
                         performance is 5/24/2019 - 5/23/2020 for
                         CKGE Contract (Depo Ex. 105)
 5
                           Amendment of Solicitation/Modification of
 6                         Contract to modify funding for option year   Dkt. No. 210, Ex. 3 (Mayur) at
        185     09/26/19
                           1 by $216,000 for CKGE Contract (Depo        59:18-61:15, 61:19-63:12
 7                         Ex. 106)
                           Amendment of Solicitation/Modification of
 8                         Contract to exercise option year 2 in the
                                                                        Dkt. No. 210, Ex. 3 (Mayur) at
        186     05/24/20   amount of $200,000 for a period of
 9                         performance of 5/24/2020 to 5/23/2021 for
                                                                        63:13-66:15
                           CKGE Contract (Depo Ex. 107)
10
                           Amendment of Solicitation/Modification of
11                         Contract to exercise option year 3 in the
                                                                        Dkt. No. 210, Ex. 3 (Mayur) at 67:7-
        187     05/24/21   amount of $200,000 for a period of
                                                                        69:15
12                         performance of 5/24/2021 to 5/23/2022 for
                           CKGE Contract (Depo Ex. 108)
13                         Amendment of Solicitation/Modification of
                           Contract to exercise option year 4 in the
14                                                                      Dkt. No. 210, Ex. 3 (Mayur) at
        188     05/24/22   amount of $200,000 for a period of
                                                                        69:12-70:23
15                         performance of 5/24/2022 to 5/23/2023 for
                           CKGE Contract (Depo Ex. 109)
16                         Ex 110 - Combined Invoicing Docs (Nos.
                 2018-     817, 827, 901, 955, 960, 912) for CKGE       Dkt. No. 210, Ex. 3 (Mayur) at
17      189
                 2022      Contract totaling $1,316,000 (Depo Ex.       71:17-78:13
                           110)
18
                           E-Gov Solutions 1099 to iGov (2018) for      Dkt. No. 210, Ex. 3 (Mayur) at
        190      2018
19                         $285,700.00 (Depo Ex. 111)                   80:13-82:2, 82:10-83:13
                                                                        Dkt. No. 210, Ex. 3 (Mayur) at
                           E-Gov Solutions 1099 to iGov (2019) for
20      191      2019                                                   84:16-85:8, 86:1-87:3, 87:18-25,
                           $199,850.00 (Depo Ex. 112)
                                                                        88:5-89:24, 90:9-25
21                         E-Gov Solutions 1099 to iGov (2020) for      Dkt. No. 210, Ex. 3 (Mayur) at
        192      2020
                           $193,000.00 (Depo Ex. 113)                   91:17-93:5
22
                           E-Gov Solutions 1099 to iGov (2021) for      Dkt. No. 210, Ex. 3 (Mayur) at 93:6-
        193      2021
23                         $197,000.00 (Depo Ex. 114)                   95:6.
                           Combined Wells Fargo Bank Statements
24                                                                      Dkt. No. 210, Ex. 3 (Mayur) at 95:7-
                 2018-     for eGovernment Solutions account where
        194                                                             96:13, 99:8-102:4, 102:19-107:3,
                 2022      IRS deposits and payments to iGov were
25                                                                      109:8-111:24
                           made (Depo Ex. 115)
26                       LinkedIn profile for Richard Starr -
                                                                        Dkt. No. 210, Ex. 3 (Mayur) at
        195     10/25/22 Attorney - Irving Starr Esq., P.C., counsel
                                                                        114:9-115:25, 116:3-9
27                       of record for Defendants (Depo Ex. 116)

28
     4888-0598-0305.1                                  -9-
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 230 Filed 11/28/23 Page 10 of 11



 1
      Ex. No.    Date                    Description                  Authenticating/Related Testimony
 2
                          Wells Fargo Statements for eGovernment      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
 3      197               Solutions Account No. 5581518783 (Depo      243:2-244:16, 244:21-245:3, 245:13-
                          Ex. 217)                                    246:9, 247:5-248:20
 4                        Various checks from Wells Fargo Account     Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        198               No. 5581518783 signed by John Mark          251:4-252:8, 252:16-253:6, 253:24-
 5                        Suhy (Depo Ex. 218)                         254:9
 6                        Various checks from Wells Fargo Account
                                                                      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        199               No. 5581518783 signed by John Mark
                                                                      259:7-264:17, 266:9-18
 7                        Suhy (Depo Ex. 219)
                          PureThink LLC Profit & Loss Statement,
 8                                                                    Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        200      2014     January through December 2014 (Depo Ex.
                                                                      56:20-59:3
 9                        197)
                          PureThink LLC's Profit and Loss Statement   Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        201      2015
10                        for 2015 (Depo Ex. 198)                     59:6-61:8
                          Purethink LLC's Profit and Loss Statement   Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
11      202      2016
                          for 2016 (Depo Ex. 199)                     61:9-63:23
12                        iGov Inc. Profit and Loss Statement for     Dkt. No. 210, Ex. 1 (Suhy Vol 1) at
        203      2018
                          2018 (Depo Ex. 33)                          227:9-24
13                        iGov Inc Profit and Loss Statement for      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        204      2019
                          2019 (Depo Ex. 223)                         309:21-312:24
14
                          iGov Inc Profit and Loss Statement for      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
        205      2020
15                        2020 (Depo Ex. 225)                         314:4-316:15
                          iGov Inc Profit and Loss Statement for      Dkt. No. 226, Ex. 2 (Suhy Vol 2) at
16      206      2021
                          2021 (Depo Ex. 227)                         318:9-319:17
17

18   Dated: November 21, 2023                           HOPKINS & CARLEY
                                                        A Law Corporation
19
                                                        By: /s/ Jeffrey M. Ratinoff
20                                                         John V. Picone III
                                                           Jeffrey M. Ratinoff
21                                                         Attorneys for Plaintiffs and
                                                           Counter-Defendants
22                                                         NEO4J, INC. and NEO4J SWEDEN AB

23
     Dated: November 17, 2023
24                                                           /s/ Adron W. Beene
                                                            Adron W. Beene
25                                                          Adron G. Beene
                                                            Attorneys for Defendants and Counter-
26                                                          Claimants
                                                            PURETHINK LLC, IGOV INC., and
27                                                          JOHN MARK SUHY

28
     4888-0598-0305.1                                 - 10 -
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 230 Filed 11/28/23 Page 11 of 11



 1          PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2

 3            November 28, 2023
      Dated:_________________________
                                                         EDWARD J. DAVILA
 4                                                       United States District Court Judge
 5

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     4888-0598-0305.1                                 - 11 -
     STIPULATION AND [PROPOSED] ORDER TO ADMIT DEPOSITION TESTIMONY AND CORRESPONDING
     TRIAL EXHIBITS; CASE NO. 5:18-CV-07182-EJD
